         CASE 0:22-cv-00771-JWB-ECW Doc. 57 Filed 01/13/23 Page 1 of 1

                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                     ___________________

                                         No: 22-2722
                                     ___________________

         Minnesota State College Student Association, Inc., doing business as LeadMN
                                             Plaintiff - Appellant
                                                v.
   Jay Cowles, in their official capacities as Trustee Members of the Board of Minnesota State
Colleges and Universities; Rudy Rodriguez, in their official capacities as Trustee Members of the
Board of Minnesota State Colleges and Universities; Asani Ajogun, in their official capacities as
       Trustee Members of the Board of Minnesota State Colleges and Universities; Victor
  Ayemobuwa, in their official capacities as Trustee Members of the Board of Minnesota State
  Colleges and Universities; Alex Cirillo, in their official capacities as Trustee Members of the
Board of Minnesota State Colleges and Universities; Dawn Erlandson, in their official capacities
 as Trustee Members of the Board of Minnesota State Colleges and Universities; Roger Moe, in
    their official capacities as Trustee Members of the Board of Minnesota State Colleges and
   Universities; Javier Morillo, in their official capacities as Trustee Members of the Board of
    Minnesota State Colleges and Universities; April Nishimura, in their official capacities as
 Trustee Members of the Board of Minnesota State Colleges and Universities; Oballa Oballa, in
    their official capacities as Trustee Members of the Board of Minnesota State Colleges and
    Universities; Kathy Sheran, in their official capacities as Trustee Members of the Board of
 Minnesota State Colleges and Universities; George Soule, in their official capacities as Trustee
   Members of the Board of Minnesota State Colleges and Universities; Cheryl Tefer, in their
       official capacities as Trustee Members of the Board of Minnesota State Colleges and
  Universities; Michael Vekich, in their official capacities as Trustee Members of the Board of
 Minnesota State Colleges and Universities; Jerry Janezich, in their official capacities as Trustee
                Members of the Board of Minnesota State Colleges and Universities
                                   Defendants - Appellees
______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:22-cv-00771-ECT)
______________________________________________________________________________

                                          JUDGMENT
       The joint stipulation for dismissal is granted. The appeal is hereby dismissed in

accordance with the Federal Rules of Appellate Procedure 42(b).

       The Court's mandate shall issue forthwith.

                                                     January 13, 2023

   Order Entered Under Rule 27A(a):
   Clerk, U.S. Court of Appeals, Eighth Circuit.
   ____________________________________
               /s/ Michael E. Gans
   Appellate Case: 22-2722 Page: 1           Date Filed: 01/13/2023 Entry ID: 5235793
